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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  MEMPHIS DIVISION

UNITED STATES OF AMERICA

-v-                                                    10-20194-01-Ma

WILLIAM HARNESS
                                                        David Bell, FPD
                                                        Defense Attorney
                                                        200 Jefferson Avenue, Suite 200
                                                        Memphis, Tennessee 38103


                   REDACTED JUDGMENT IN A CRIMINAL CASE
                    (For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Indictment on October 24, 2011.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense:

                                                                            Date Offense       Count
        Title & Section                 Nature of Offense                    Concluded        Number(s)
 21 U.S.C. § 846              Conspiracy to possess with the intent          03/31/2010
                              to distribute Oxycodone, a Schedule II
                              controlled substance

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

                                                                       Date of Imposition of Sentence:
                                                                                    January 26, 2012

                                                                        Samuel H. Mays, Jr.
                                                                       S/
                                                                       SAMUEL H. MAYS, JR.
                                                                UNITED STATES DISTRICT JUDGE

                                                                                          January 30, 2012




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                                    IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of fifty -seven (57) months.

       The Court recommends to the Bureau of Prisons:

       That defendant participate in the 500 hour drug rehabilitation program if eligible, or
any other drug rehabilitation program as defendant may be qualified.

       That defendant be designated to serve his term of imprisonment at a facility located
closest to defendant's family in Nashville, Tennessee.

       The defendant is remanded to the custody of the United States Marshal.



                                         RETURN

I have executed this judgment as follows:




Defendant delivered on                              to

 at                                                             with a certified copy of this
judgment.



                                                               UNITED STATES MARSHAL



                                                                 Deputy U.S. Marshal




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                                      SUPERVISED RELEASE

      Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

        The defendant shall report to the probation office in the district to which the defendant
is released within 72 hours of release from custody of the Bureau of Prisons.

        While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

        The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as directed by the probation officer.

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

                      STANDARD CONDITIONS OF SUPERVISION

       The defendant shall not leave the judicial district without the permission of the court or probation officer;

       The defendant shall report to the probation officer as directed by the court or probation officer and shall
       submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
       the probation officer;

4.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

5.     The defendant shall notify the probation officer ten (10) days prior to any change in residence or
       employment;

6.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
       substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as directed
       by the probation officer to determine the use of any controlled substance;

7.     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
       or administered;

8.     The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
       with any person convicted of a felony unless granted permission to do so by the probation officer;

       The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;




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10.      The defendant shall notify the probation officerwithin 72 hours of being arrested or questioned by a law
         enforcement officer;

11.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court;

12.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
        the probation officer to make such notifications and to confirm the defendant's compliance with such
        notification requirement.

13.      If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
         that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
         forth in the Criminal Monetary Penalties sheet of this judgment.



                ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

       The defendant shall also comply with the following additional conditions of supervised
release:

         The defendant shall participate as directed in a program (outpatient and/or inpatient)
         approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
         dependency which may include testing for the detection of substance use or abuse. Further,
         the defendant shall be required to contribute to the costs of services for such treatment not
         to exceed an amount determined reasonable by the Probation Officer.

2.       The defendant shall participate as directed in a program of mental health treatment approved
         by the Probation Officer. Further, the defendant shall be required to contribute to the costs
         of services for such treatment not to exceed an amount determined reasonable by the
         Probation Officer based on ability to pay or availability of third party payment and in
         conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

3.       The defendant shall seek and maintain lawful full-time employment.

4.       The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




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                         CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to penalties
for default and delinquency pursuant to 18 U.S.C. § 3612(g).

     Total Assessment                     Total Fine                Total Restitution
           $100.00                          None                           None

                     The Special Assessment shall be due immediately.


                                            FINE
                                       No fine imposed.


                                       RESTITUTION
                                  No Restitution was ordered.




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